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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMERICAN CIVIL LIBERTIES UNION and
 AMERICAN CIVIL LIBERTIES UNION
 FOUNDATION,

                Plaintiffs,
                                                            Case No. 1:16-cv-01256 (EGS)
        v.

 CENTRAL INTELLIGENCE AGENCY
 et al.,

                Defendants.


     MOTION TO EXTEND DEADLINE FOR REQUESTING ATTORNEYS’ FEES

       Plaintiffs American Civil Liberties Union and American Civil Liberties Union

Foundation (“Plaintiffs”) respectfully request that the Court extend their deadline for filing a

motion for attorneys’ fees and costs by an additional sixty days. The government consents to the

requested extension of time.

       On August 15, 2019, the parties jointly filed a Stipulation of Dismissal, wherein Plaintiffs

agreed to dismiss with prejudice their claims against nine of the Defendant agency and agency

components, while reserving their right to seek an award of attorneys’ fees and other costs. See

Dkt. 51. On December 8, 2021, the parties jointly filed a stipulation of dismissal with prejudice

with respect to their claims against an additional agency, the Air Force, similarly reserving their

right to seek an award of attorneys’ fees and other costs. See Dkt. 67. Finally, also on December

8, 2021, the parties jointly requested that the Court enter final judgment in this matter in favor of

the CIA, the remaining Defendant in this case. See Dkt. 68.

       Plaintiffs intend to seek fees and costs in this matter. Federal Rule of Civil Procedure

54(d)(2)(B)(i) states that a motion for attorneys’ fees must be filed no later than 14 days after the



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entry of judgment. The parties have conferred, and the government consents to extending this

deadline by sixty days. Accordingly, if the Court grants the parties’ request for entry of final

judgment in this case, Plaintiffs also request that it extend their deadline for filing a motion for

attorneys’ fees and costs to seventy-four days from such entry of judgment.



 Dated: December 8, 2021                              Respectfully submitted,

                                                       /s/ Jameel Jaffer
                                                      Jameel Jaffer (D.D.C. Bar No. MI0067)
                                                      Ramya Krishnan (admitted pro hac vice)
                                                      Alex Abdo (admitted pro hac vice)
                                                      Knight First Amendment Institute at
                                                        Columbia University
                                                      475 Riverside Drive, Suite 302
                                                      New York, NY 10115
                                                      Tel: 646.745.8500
                                                      ramya.krishnan@knightcolumbia.org

                                                      Brett Max Kaufman (D.D.C. Bar No.
                                                       NY0224)
                                                      American Civil Liberties Union
                                                      125 Broad Street—18th Floor
                                                      New York, NY 10004
                                                      Tel: 212.549.2500
                                                      Fax: 212.549.2654
                                                      bkaufman@aclu.org

                                                      Arthur B. Spitzer (D.C. Bar No. 235960)
                                                      American Civil Liberties Union
                                                       of the District of Columbia
                                                      915 15th Street, NW—2d Floor
                                                      Washington, D.C. 20005
                                                      Tel: 202.601.4266
                                                      artspitzer@acludc.org

                                                      Counsel for Plaintiffs




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